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                         UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA

IN RE:                                    )
                                          )      B/K Case No. 18-05568-dd
Lisa Ann DeGennaro                        )
                                          )      Chapter 7
                                          )
                     Debtor.              )

   APPLICATION TO EMPLOY REAL ESTATE BROKER AND SUB-REAL ESTATE LISTING
                                  AGENT

      The Application of Kevin Campbell, Trustee in Bankruptcy for the Estate of the
above-captioned Debtor, respectfully represents that:

   1. Your Applicant is the duly appointed, qualified and acting Trustee for the Estate of
      the Debtor in the above-captioned matter.

   2. Your Applicant desires to employ and retain BK Global Real Estate Services
      (“BKRES”), whose address is 1095 Broken Sound Parkway, N.W., Suite 100, Boca
      Raton, FL 33487 and whose telephone number is (561) 206-0067, to represent him
      as a Real Estate Broker in the sale of the Debtor’s property located at 942 Columbus
      Drive, Brick, NJ 08724 (“Property”).

   3. Your Applicant desires to employ and retain RE/MAX at Barnegat Bay (“REMAX”)
      whose address is 221 Lacey Rd, Forked River, NJ 08731 and whose telephone
      number is 609-709-4758, to represent him as the local licensed Listing Agent in the
      sale of all the Property.

   4. BKRES is the primary broker and REMAX is the local licensed Listing Agent. BKRES
      prepares the listing agreement, including the requirement that the property must be
      sold with the approval of the Bankruptcy Court "as is, where is", without any
      warranties whatsoever, by quitclaim deed. BKRES advises the Trustee as to what the
      property should list for and what it may sell for, considering the subject property
      and the short sale lender’s requirements; as well as recommends the additional
      amount the buyers should pay to be used for the trustee’s compensation and
      expenses and to make a meaningful distribution to the unsecured creditors.

   5. Your Applicant desires to compensate BKRES by paying a commission in the amount
      of six percent (6%) of the sales price obtained on the subject residential property to
      be paid upon closing of any transaction wherein the real estate agent performs such
      services. BKRES will pay the REMAX from its 6% commission.
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   6. The property is then marketed by REMAX as the local Listing Agent. The local
      Listing Agent provides local area knowledge and the availability of the Multiple
      Listing Service (MLS). This combination leads to optimal results.

   7. Any contract will be reviewed by BKRES before being submitted to the Trustee for
      his approval. Once there is a ratified contract, BKRES will submit the contract to the
      lender and negotiate short sale approval at no cost to the estate.

   8. Your Applicant is informed and believes that both BKRES and REMAX are
      disinterested parties within the meaning of that term as it is used in §101(14) of the
      Bankruptcy Code except that BKRES has been employed by the trustee in past,
      present and future cases.

   9. Your Applicant is informed and believes that BKRES and REMAX have no connection
      with the Debtor, any creditors of the estate, any other party in interest, their
      respective attorneys and accountants, the United States Trustee, or any person
      employed in the Office of the United States Trustee.

WHEREFORE, your Applicant asks that the Court enter an Order authorizing him to employ
BKRES as his Real Estate Broker and REMAX as his local Listing agent.

                                          /s/ Kevin Campbell
                                          KEVIN CAMPBELL, Trustee
                                          Post Office Box 684
                                          Mt. Pleasant, South Carolina 29465
MT. PLEASANT, SOUTH CAROLINA              (843) 884-6874 / 884-0997 (fax)
Dated: January 29, 2019                   kcampbell@campbell-law-firm.com
                                          District Court I.D. 30
